Case 0:18-cv-62758-WPD Document 512 Entered on FLSD Docket 03/16/2022 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CONSOLIDATED ACTION

                                                         Case No. 18-62758-CIV-DIMITROULEAS
                                                                      (Consolidated cases)

   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   _________________________________________/


                                      JOINT STATUS REPORT

          The Parties file this Joint Status Report in accordance with the Court’s Order that the

   Parties either file the appropriate dismissal papers or show cause why those papers have not been

   filed no later than March 16, 2022. ECF No. 489. The Associate Attorney General approved the

   global settlement on March 1, 2022. All 40 of the Stipulations for Compromise Settlement and

   Release (“Stipulations”) now have been signed on behalf of the United States, and sent to the

   United States Department of Treasury for payment.

          It is the United States’ position that all of the conditions required for dismissal with

   prejudice of the consolidated cases have been met. Plaintiffs, however, are reluctant to dismiss

   their cases until all settlement funds have been received. Accordingly, Plaintiffs request a 45-

   day extension to allow for the Treasury Department to issue payments.1 As stated above, the

   position of the United States is that these cases are now ripe for dismissal, but the United States

   does not oppose Plaintiffs’ request for an extension. Under Plaintiffs’ proposal, Plaintiffs will

   dismiss their cases with prejudice upon receipt of the settlement proceeds, requesting that the

   Court retain jurisdiction solely to adjudicate the pending motion for common benefit fees [D.E.



          1
            To date, the Department of Treasury has already issued payments in one of the cases,
   and the rest remain in process.
Case 0:18-cv-62758-WPD Document 512 Entered on FLSD Docket 03/16/2022 Page 2 of 4




   418], the joinder thereto [D.E. 420], any pending related motions [D.E. 455, 459], and any

   motions relating to the common benefit fees motion which may be filed in the future.



   Dated: March 16, 2022                               Respectfully submitted,


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                                                  2
Case 0:18-cv-62758-WPD Document 512 Entered on FLSD Docket 03/16/2022 Page 3 of 4




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                                        3
Case 0:18-cv-62758-WPD Document 512 Entered on FLSD Docket 03/16/2022 Page 4 of 4




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                                        4
